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 9    Attorney for Plaintiffs JESSIE RODRIGUEZ, an individual, and CAL
      AMERICAN HOMES AND REALTY, a California corporation
10
11                       UNITED STATES DISTRICT COURT
12
                     THE CENTRAL DISTRICT OF CALIFORNIA
13
14    JESSIE RODRIGUEZ, an individual;            Case No.: 2:21-cv-02993-FLA(RAOx)
      CAL AMERICAN HOMES AND
15    REALTY, a California Corporation,           NOTICE OF VOLUNTARY
16                                                DISMISSAL
17                      Plaintiff,                DJ: Hon. Fernando L. Aenlle-Rocha,
18          v.                                    Dept. 6B
                                                  MJ: Hon. Rozelle A. Oliver, Dept. 590
19
      ENGEL & VOLKERS AMERICAS,
20    INC., a Delaware Corporation; and           Action Filed:    April 7, 2021
21    DOES 1 to 100,                              Trial Date: Not Yet Set
22
23                      Defendant.
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                                NOTICE OF VOLUNTARY DISMISSAL
     Case 2:21-cv-02993-FLA-RAO Document 15 Filed 04/28/21 Page 2 of 3 Page ID #:303




 1    TO ALL DEFENDANTS AND ITS COUNSEL OF RECORD:
 2          NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. Pro 41 (a),
 3    Plaintiff voluntarily dismisses the above captioned action with prejudice.
 4
 5    Dated:       April 28, 2021            KIMURA LONDON & WHITE LLP
 6
 7
 8                                    By:    /s/ Darrell P. White
 9                                           Darrell P. White, Esq.
                                             Attorney for Plaintiffs JESSIE
10                                           RODRIGUEZ and CAL AMERICAN
11                                           HOMES AND REALTY
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                                NOTICE OF VOLUNTARY DISMISSAL
     Case 2:21-cv-02993-FLA-RAO Document 15 Filed 04/28/21 Page 3 of 3 Page ID #:304




 1                            CERTIFICATE OF SERVICE
 2          I hereby certify that on April 28, 2021, a copy of the foregoing NOTICE
 3    OF VOLUNTARY DISMISSAL was filed electronically and served by U.S.
 4    mail on anyone unable to accept electronic filing. Notice of this filing will be
 5    sent by e-mail to all parties by operation of the court’s electronic filing system
 6    or by mail to anyone unable to accept electronic filing as indicated on the
 7    Notice of Electronic Filing. Parties may access this filing through the court’s
 8    CM/ECF system.
 9                                                /s/ Wendy Ramirez
                                                  Wendy Ramirez
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                                CERTIFICATE OF TRUST
